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                           UNITE D STATES DISTRICT COUR T
                                                for the
              ~~~~~--~
                                      ~~
                                           DISTRICT OF Connec ticut
                                                             -~~~~~
                                                                             ~~~~~




 United States of America                                )
                                                         )
                          Plaintiff                      )
                                                         )
                 v.                                      )
                                                         )    Case No. 3:16CR124
 James C. Duckett, Jr., et al
                                                        )
                                                        )
                          Defendant                     )
                                                        )

                           AFFIDAVIT ACCOMPANYING MOTIO N
                      FOR PERMI SSION TO APPEAL IN FORt'\IA PAUPERIS


Affidavit in Suppor t of Motion                       Instruct ions

  I swear or affirm under penalty of perjury           Complete all questions in this application and
that, because of my poverty, I cannot prepay          then sign it. Do not leave any blanks: if the
the docket fees of my appeal or post a bond for       answer to a question is 11 0, 11 11 none, 11 or "not
them. I believe I am entitled to redress. I swear     applicable (NIA)," write that response. If you
or affirm under penalty of pe~jury under United       need more space to answer a question or to
States laws that my answers on this form are          explain your answer, attach a separate sheet of
true and correct. (28 U.S.C. § 1746; 18 U.S ...       paper identified with your name, your case's
§ 1621.)                                              docket number, and the question number.


                                                       Date: 12/19/2017


My issues 011 appeal are: The sufficiency of the evidence at trial; the court's jury instruction;

the fairness of the sentence imposed, to be supplemented by appellate counsel if necessar
                                                                                         y.




1.      For both you and your spouse estimate the average amount of money received.from each
        of the following sources during the pasr 12 months. Acijust any amount that was received
        weekly, biweekly, quarterly, semiannually. or annually to show the monthly rate. Use
        gross amounts, that is, amounts before any deductions for taxes or otherwise.
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Income source                            Average monthly              Amount expected next
                                         amount during the past       month
                                         12 months
                                         You 0          SpouseO       Youo           Spouseo
Employment                               $0             $0            $0             $0
Self-employment                          $0             $0            $0             $0
Income from real property (such as       $0             $0            $0             $0
rental income)
Interest and dividends                   $0             $0            $0             $0
Gifts                                    $ 2,000        $0            $ 1,000        $0
Alimony                                  $0             $0            $0             $0
Child support                            $0             $0            $0             $0
Retirement (such as social security,     $0             $0            $0             $0
pensions, annuities, insurance)
Disability (such as social security,     $0             $0            $0             $0
insurance payments)
Unemployment payments                    $0             $0            $0                $0
 Public-assistance (such as welfare)     $0             $0            $0                $0
 Other (specify):                        $              $             $                 $


     Total monthly income:                $2,000        $0            $$1,000           $0



2.       Lisi your employment hist01y for the past two years, most recent employer first. (Gross
         monthly pay is before taxes or other deductions.)



 Employer              Address                           Dates of employment        Gross
                                                                                    monthly pay
          N/A                                                                       $
                                                                                    $
                                                                                    $
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3.       List your spouse's employment his/my for the past two years, most recent employer first.
         (Gross monthly pay is b~fore taxes or other deductions.)

 Employer              Address                           Dates of employment         Gross
                                                                                     monthly pay
          N/A                                                                        $
                                                                                     $
                                                                                     $


4.       How much cash do you and your ;pause hal'e? $_0_ __

         Below, stale any money you or your spouse have in bank accounts or in any other
         financial institution.

 Financial Institution           Type of Account        Amount you have        Amount your
                                                                               spouse has
                NIA                                     $                      $
                                                        $                      $
                                                        $                      $

I/you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must
attach a statement certified by tire appropriate institutional officer showing all receipts,
expenditures, and balances during tfte last six months in your institutional acco1111ts. Ifyou
have multiple accounts, perhaps because you liave bee11 i11 multiple institutions, attac/z one
certified statement of eaclz account.

5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing
          and ordinary householdfurnishings.

     Home                          Other real estate               Motor vehicle #1
     (Value)$ NIA                  (Value) $ NIA                   (Value)$ NIA
                                                                   Make and year:
                                                                   Model:
                                                                   Registration #:
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 Motor vehicle #2               Other assets                     Other assets
(Value)$                        (Value)$                         (Value)$
Make and year:
 Model:
 Registration#:


6.     State every person, business, or organization owing you or your spouse money, and the
       amount owed.

 Person owing you or your spouse         Amount owed to you          Amount owed to your
 money                                                               spouse
 Derek Edwards of Ft. Lauderdale, FL     $ 20,000,000.00             $0

                                         $                           $
                                         $                           $
                                         $                           $


7.     State the persons who rely on you or your spouse for support.

 Name [or, if under 18, initials only]                     Relationship               Age
                         N/A
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8.        Estimate the average monthly expenses ofyou and your family. Show separately the
          amounts paid by your spouse. Adjust any payments that are made weekly, biweekly,
          quarterly, semiannually, or annually to show the monthly rate.

                                                                      You       Your Spouse
 Rent or home-mortgage payment (including lot rented for              $0        $0
 mobile home)
        A.re real estate taxes included?  OYes ONo
        Is property insurance included?   0Yes ONo
 Utilities (electricity, heating fuel, water, sewer, and telephone)   $0        $0
 Home maintenance (repairs and upkeep)                                $0        $0
 Food                                                                 $Q        $0
 Clothing                                                             $0        $0
 Laundry and dry-cleaning                                             $0        $Q
 Medical and dental expenses                                          $0        $0
 Transportation (not including motor vehicle payments)                $Q        $0
 Recreation, entertainment, newspapers, magazines, etc.               $0        $0
 Insurance (not deducted from wages or included in mortgage payments)
          Homeowner's or renter's:                                    $0        $0
          Life:                                                       $0        $0
           Health:                                                    $0        $0
          Motor vehicle:                                              $0         $0
           Other:                                                     $0         $0
 Taxes (not deducted from wages or included in mortgage
 payments) (specify):
                                                                      $0         $0
     Installment payments 0
           Motor Vehicle:                                             $0         $0
           Credit card (name):                                        $0         $0
           Department store (name):                                   $0         $0
           Other:                                                     $0         $0
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 Alimony, maintenance, and support paid to others               $0                $ 0
 Regular expenses for operation of business, profession, or     $ 0               $ 0
 farm (attach detailed statement)
 Other (specify):                                               $0                $ 0
       Total monthly expenses:                                  $ 0               $ 0




9.     Do you expect any major changes to your monthly income or expenses or in your assets or
       liabilities during the next 12 months?

                               If yes, describe on an attached sheet.



10.    Have you spent - or will you l{Jpend~ - any money for expenses or attorney fees in
       connection with this lawsuit? ./Yes LJNo

       Jfyes, how much?$ 20,000.00


11.    Provide any other information that will help explain wftv you cannot pay the docket fees
       for your appeal.
        I have no resources or funds to hire private counsel. The funds used to
        retain trial counsel was a loan and I have no further access to assistance.

12.     State the city and state ofyour legal residence
         Danielson, Connecticut
        Your daytime phone number: (860) 993-7714

        Your age: 45          Your years of schooling: 12+

        Lastfour digits ofyour social-security number: 3413
